  Case 1:23-cr-00119-TSE Document 49-1 Filed 10/13/23 Page 1 of 1 PageID# 277



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                    )
      v.                            )                CASE NO. 23-CR-119 (TSE)
                                    )
CONOR BRIAN FITZPATRICK,            )                  Sentencing: November 17, 2023
                                    )
      Defendant.                    )
___________________________________ )

                                           ORDER

       On the unopposed motion of Defendant Conor Fitzpatrick; it is hereby

       ORDERED that Sentencing in the above-referenced matter shall be continued from

November 17, 2023 to January___, 2024, at 9:00 a.m.


Dated: __________________
                                               Hon. T.S. Ellis, III
